                    Case 3:24-mc-80266-JCS                   Document 2-14                 Filed 10/24/24               Page 1 of 2
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3HUVRQZKRVHUYHGSDSHUV

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